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 1                               UNITED STATES DISTRICT COURT

 2                                       DISTRICT OF NEVADA

 3                                                          Case No.: 2:23-cv-02100-JAD-MDC
         Edward Jones,
 4
               Plaintiff                                   Order Denying Motions to Amend
 5 v.                                                   Complaint and for Injunctive Relief in this
                                                                     Stayed Case
 6 Daryl Morgan, et al.,
                                                                     [ECF Nos. 19, 21]
 7             Defendants

 8

 9            Clark County Detention Center detainee Edward Jones filed this civil-rights lawsuit

10 under 42 U.S.C. § 1983 for events surrounding his arrest, search, seizure, and ongoing state-court

11 prosecution.1 I recently stayed his case under the Supreme Court’s decision in Younger v.

12 Harris, which prohibits federal courts from interfering in ongoing state criminal proceedings like

13 Jones’s, and advised Jones that he may move to lift the stay once his state-court proceedings

14 have concluded.2

15            Jones now moves to amend his complaint and for injunctive relief, both based on a series

16 of events unrelated to his original complaint.3 I deny both motions because this case is stayed

17 and the reason for the stay—Jones’s state-court proceedings—persists.4 The only motion that

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19 1 ECF No. 1-1.
     2
20       ECF No. 18.
     3
     ECF Nos. 19, 20, 21 (arguing that CCDC officials denied him access to property in the form of
21 a magazine containing legal resources—and also pictures of women that the officials deemed
   sexually explicit—in violation of the First Amendment).
22 4
     See Clark County Inmate Search, Defendant ID 8593738,
   https://www.clarkcountynv.gov/government/departments/detention_center/inmate_search.php;
23
   State of Nevada v. Edward Jones, III, Case No. C-22-363709-1 (Eighth Jud. Dist. Ct.) (jury trial
   scheduled for October 7, 2024).
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 1 Jones is permitted to file in this case is one that requests to lift that stay once his state-court case

 2 has been resolved. Jones may file his unrelated (and newly proposed) First Amendment claim in

 3 a separate action, but he cannot pursue it in this case.

 4                                               Conclusion

 5         IT IS THEREFORE ORDERED that Jones’s motions to amend his complaint [ECF No.

 6 19] and for injunctive relief [ECF No. 21] are DENIED because this case remains stayed.

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                                                                  U.S. District Judge Jennifer A. Dorsey
 9                                                                                         June 28, 2024

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